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EXHIBIT 2

Pop Up Store Agreement

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“0 Hilco. Gordon Brothers Group

Merchant Resources EST. 1903
June 8, 2015

VIA EMAIL

QS RETAIL, INC.

Attn: Steve Finney

5600 Argosy Ave. Bldg 100
Huntington Beach, Ca 92649

Phone: (714) 889-2336

Email: steve.finney@quiksilver.com

Re: Letter Agreement Governing Inventory Disposition

Dear Steve:

This letter shall serve as an agreement (“Agreement”) between Hilco Merchant Resources,
LLC and Gordon Brothers Retail Partners, LLC, on the one hand (collectively, “Agent” or a
“Party”), and QS RETAIL, Inc., on the other hand (“Merchant” or a “Party” and together with the
Agent, the “Parties”), under which Agent shall act as the exclusive agent for the purpose of
conducting a sale of certain Merchandise (as defined below) through a “pop up” store program
(each a “Pop Up Store” and collectively, the “Pop Up Stores”) in the United States utilizing sale
handles agreed upon by the Parties (the “Sale”).

A. Merchandise

For purposes hereof, “Merchandise” shall mean all excess, clearance, obsolete, or distressed
inventory described on Exhibit A attached hereto, but only to the extent that Merchant obtains the
necessary approvals and clearances to import such inventory into the United States, and such other
goods as Merchant and Agent may agree to include in the Sale from time to time. "Merchandise"
does not mean and shall not include: (1) goods that belong to sublessees, licensees or
concessionaires of Merchant; (2) furnishings, trade fixtures, equipment and improvements to real
property that are located in the Pop Up Stores (collectively, "FF&E"); or (3) damaged or defective
merchandise that cannot be sold.

B. Sale Term

For each Store, the Sale shall commence on July 1, 2015 (the “Sale Commencement Date’’)
and conclude the earlier of (a) January 31, 2016 or (b) the date that the Sale is completed (the “Sale
Termination Date”); provided, however, that the Parties may mutually agree in writing to extend or
terminate the Sale at any Store prior to the Sale Termination Date. The period between the Sale
Commencement Date and the Sale Termination Date shall be referred to as the “Sale Term.”

Cc. Project Management

(i) Agent’s Undertakings

Agent shall, in collaboration with Merchant, (a) together with Agent’s affiliate, Hilco Real
Estate, LLC, assist Merchant with identifying a minimum of fifteen suitable locations for the Pop

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Up Stores; provided, that it is the Parties intent to operate approximately thirty Pop Up Stores; (b)
provide qualified supervisors (the "Supervisors") engaged by Agent to oversee the management of
the Pop Up Stores; (c) determine appropriate point-of-sale and internal and external advertising
strategies for the Pop Up Stores and recommend and assist Merchant with advertising and signage
for the Pop Up Stores, all at Merchant’s cost and expense and approved in advance by Merchant;
(d) determine appropriate discounts of Merchandise approved in advance by Merchant; (e) assist
Merchant in procuring employees to be employed by Merchant or a third party staffing company
recommended by Agent; (f) recommend staffing levels for the Pop Up Stores and appropriate bonus
and incentive programs, if any, for the Pop Up Stores’ employees; (g) oversee display of
Merchandise for the Pop Up Stores; (h) assist in procuring FF&E for the Pop Up Stores; (i) to the
extent that information is available, evaluate sales of Merchandise by category and sales reporting
and monitor expenses; (j) maintain the confidentiality of all proprietary or non-public information
regarding Merchant in accordance with the provisions of the confidentiality agreement signed by
the Parties; (k) assist Merchant in connection with managing and controlling loss prevention and
employee relations matters; (I) provide support in obtaining appropriate authorization and permits to
conduct the Sale from state and local authorities (if applicable); (m) assist Merchant in creating a
customer transition program to transition customers from the Pop Up Stores to Merchant’s other
retail channels; (n) provide such other related services deemed necessary or appropriate by
Merchant and Agent; and (0) at an agreed upon time prior to the end of the Sale Term at each Pop
Up Store, conduct a “sale on everything”, “everything on sale”, “store closing” or similar themed
sale event (but not a “going out of business” or similar event sale) and sell all Merchandise to the
piece, and if Merchant requests, the FF&E pursuant to Section I.

At the conclusion of the Sale, Agent shall surrender the premises for each Store to Merchant
in broom clean condition and in accordance with the lease requirements for such premises;
provided, however, Merchant shall bear all costs and expenses associated with surrendering the
premises in accordance with the lease requirements for such premises according to a budget
mutually agreed to between the Agent and Merchant. At the conclusion of the Sale at each Store,
Agent shall photographically document the condition of each such Store.

The Parties expressly acknowledge and agree that Merchant shall have no liability to the
Supervisors for wages, benefits, severance pay, termination pay, vacation pay, pay in lieu of notice
of termination or any other liability arising from Agent’s hiring or engagement of the Supervisors,
and the Supervisors shall not be considered employees of Merchant.

(ii) Merchant’s Undertakings

During the Sale Term, Merchant shall (a) be the employer of the Pop Up Stores’ employees
(other than the Supervisors) or, to the extent Merchant elects, utilize the services of a third party
employment agency recommended by Agent, for purposes of engaging temporary staff for the Pop
Up Stores; (b) pay all taxes, costs, expenses, accounts payable, and other liabilities relating to the
Pop Up Stores, the Pop Up Stores’ employees (other than the Supervisors) and other representatives
of Merchant; (c) prepare and process all tax forms and other documentation; (d) collect all sales
taxes and pay them to the appropriate taxing authorities for the Pop Up Stores; (e) use reasonable
efforts to cause Merchant’s employees to cooperate with Agent and the Supervisors; (f) execute all
agreements mutually determined by the Merchant and Agent to be necessary or desirable for the
operation of the Pop Up Stores during the Sale; provided, that Merchant shall have the right to
approve the terms and conditions of each lease with respect to a Pop Up Store in its sole discretion;

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(g) provide, and arrange for the ordinary maintenance of, all point-of-sale equipment required for
the Pop Up Stores; (h) with Agent’s assistance, and subject to the lease for each Pop Up Store,
ensure that Agent has quiet use and enjoyment of the Pop Up Stores for the Sale Term in order to
perform its obligations under this Agreement; (i) with Agent’s assistance, provide or procure FF&E
for the Pop Up Stores; (j) identify the Merchandise for the Sale, with Agent’s assistance allocate
and balance the Merchandise among the Stores, and ship and distribute the Merchandise to the Pop
Up Stores; and (k) with Agent’s assistance, obtain all interior and exterior signage (including
exterior “QUIKSILVER” signage) and procure all advertising for the Pop Up Stores.

To assist with the Sale, Merchant shall provide throughout the Sale Term central
administrative services necessary for the Sale, including (without limitation) customary POS
administration, sales audit, cash reconciliation, accounting, and payroll processing, all at no cost to
Agent.

The Parties expressly acknowledge and agree that Agent shall have no liability to
Merchant’s employees for wages, benefits, severance pay, termination pay, vacation pay, pay in lieu
of notice of termination or any other liability arising from Merchant’s employment, hiring or
retention of its employees, and such employees shall not be considered employees of Agent.

D. The Sale

All sales of Merchandise shall be made on behalf of Merchant. Agent does not have, nor
shall it have, any right, title or interest in the Merchandise. All sales of Merchandise shall be by
cash, gift card, gift certificate, merchandise credit, or credit card and, at Merchant’s discretion, by
check or otherwise in accordance with Merchant’s policies, and shall be "final" with no returns
accepted or allowed, unless otherwise directed by Merchant.

E. Agent Fee and Expenses in Connection with the Sale

In consideration of its services hereunder, Agent shall earn a fee equal to five (5.0%) of the
Gross Proceeds of Merchandise sold at the Pop Up Stores. For purposes of this Agreement, “Gross
Proceeds” means gross receipts arising from sales of Merchandise, net of applicable sales taxes. In
addition, Agent shall be paid an amount equal to $5,000 per Pop Up Store lease that is negotiated by
Hilco Real Estate, LLC on Merchant’s behalf and approved and executed by Merchant, and
Merchant shall fund all deposits with respect to such Pop Up Store leases and utilities associated
therewith, if required by the applicable lease.

Merchant shall be responsible for all expenses of the Sale, including (without limitation) all
Store level operating expenses, all costs and expenses related to Merchant’s other retail store
operations, and Agent’s reasonable, documented and preapproved out of pocket expenses. To
control expenses of the Sale, Merchant and Agent have established a budget (the “Expense
Budget”) of certain delineated expenses, including (without limitation) payment of the costs of
supervision (including (without limitation) Supervisors’ wages, fees, travel, and deferred
compensation) and advertising costs. The Expense Budget for the Sale is attached hereto as Exhibit
B. The Expense Budget may only be modified by mutual agreement of Agent and Merchant.
Merchant shall have no responsibility for costs and expenses in excess of the Expense Budget,
unless Agent has obtained Merchant’s prior written (including email) consent pursuant to an

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amendment to the Expense Budget. The costs of supervision set forth on Exhibit B include, among
other things, industry standard deferred compensation.

All accounting matters (including, without limitation, all fees, expenses, or other amounts
reimbursable or payable to Agent) shall be reconciled by mutual agreement of Agent and Merchant
on every Wednesday for the prior week and, unless disputed by either Party, shall be paid within
seven (7) days after each such weekly reconciliation. The Parties shall complete a final
reconciliation and settlement of all amounts payable to Agent and contemplated by this Agreement
(including, without limitation, Expense Budget items, and fees earned hereunder) no later than forty
five (45) days following the Sale Termination Date for the last Store.

F. Indemnification

(1) Merchant’s Indemnification

Merchant shall indemnify, defend, and hold Agent and its consultants, members, managers,
partners, officers, directors, employees, attorneys, advisors, representatives, lenders, potential co-
investors, principals, affiliates, and Supervisors (collectively, "Agent Indemnified Parties")
harmless from and against all liabilities, claims, demands, damages, costs and expenses (including
reasonable attorneys' fees) arising from or related to: (a) the willful or negligent acts or omissions of
Merchant or the Merchant Indemnified Parties (as defined below); (b) the material breach of any
provision of this Agreement by Merchant; (c) product liability claims, except claims arising from
Agent’s negligence, willful misconduct or unlawful behavior, (d) claims asserted by any Store
employees employed by Merchant (under a collective bargaining agreement or otherwise), relating
to such employment against Agent or an Agent Indemnified Party, except claims arising from
Agent’s negligence, willful misconduct or unlawful behavior; (d) any harassment, discrimination or
violation of any laws or regulations by Merchant or any of the Merchant Indemnified Parties; and
(e) Merchant’s failure to pay over to the appropriate taxing authority any taxes required to be paid
by Merchant during the Sale Term in accordance with applicable law.

(ii) Agent’s Indemnification

Hilco Merchant Resources, LLC and Gordon Brothers Retail Partners, LLC shall, jointly
and severally, indemnify, defend and hold Merchant and its consultants, members, managers,
partners, officers, directors, employees, attorneys, advisors, representatives, lenders, potential co-
investors, principals, and affiliates (other than the Agent or the Agent Indemnified Parties)
(collectively, "Merchant Indemnified Parties") harmless from and against all liabilities, claims,
demands, damages, costs and expenses (including reasonable attorneys’ fees) arising from or related
to (a) the willful or negligent acts or omissions of Agent or the Agent Indemnified Parties; (b) the
breach of any provision of, or the failure to perform any obligation under, this Agreement by Agent;
(c) any liability or other claims made by an Agent Indemnified Parties or any other person
(excluding Merchant Indemnified Parties) against a Merchant Indemnified Party arising out of or
related to Agent’s conduct of the Sale, except claims arising from Merchant’s negligence, willful
misconduct, or unlawful behavior; (d) any harassment, discrimination or violation of any laws or
regulations by Agent or any of the Agent Indemnified Parties and (e) any claims made by any party
engaged by Agent as an employee, agent, representative or independent contractor arising out of
such engagement.

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G. Insurance

(i) Merchant’s Insurance Obligations

Merchant shall maintain throughout the Sale Term, liability insurance policies (including,
without limitation, products liability (to the extent currently provided), comprehensive public
liability insurance and auto liability insurance) covering injuries to persons and property in or in
connection with the Pop Up Stores, and shall cause Agent to be named an additional insured with
respect to all such policies. At Agent’s request, Merchant shall provide Agent with a certificate or
certificates evidencing the insurance coverage required hereunder and that Agent is an additional
insured thereunder. In addition, Merchant shall maintain throughout the Sale Term, in such
amounts as it currently has in effect, workers compensation insurance in compliance with all
statutory requirements.

(ii) Agent’s Insurance Obligations

As an expense of the Sale, Agent shall maintain throughout the Sale Term, liability
insurance policies (including, without limitation, products _liability/completed operations,
contractual liability, comprehensive public liability and auto liability insurance) on an occurrence
basis in an amount of at least Two Million dollars ($2,000,000) and an aggregate basis of at least
five million dollars ($5,000,000) covering injuries to persons and property in or in connection with
Agent's provision of services at the Pop Up Stores. Agent shall name Merchant as an additional
insured and loss payee under such policy, and upon execution of this Agreement provide Merchant
with a certificate or certificates evidencing the insurance coverage required hereunder. In addition,
Agent shall maintain throughout the Sale Term, workers compensation insurance compliance with
all statutory requirements. Further, should Agent employ or engage third parties to perform any of
Agent's undertakings with regard to this Agreement, Agent will ensure that such third parties are
covered by Agent's insurance or maintain all of the same insurance as Agent is required to maintain
pursuant to this paragraph and name Merchant as an additional insured and loss payee under the
policy for each such insurance.

H. Representations, Warranties, Covenants and Agreements

(i) Merchant warrants, represents, covenants and agrees that (a) Merchant is a
corporation duly organized, validly existing and in good standing under the laws of its state of
organization, with full power and authority to execute and deliver this Agreement and to perform its
obligations hereunder, and maintains its principal executive office at the address set forth herein, (b)
the execution, delivery and performance of this Agreement has been duly authorized by all
necessary actions of Merchant and this Agreement constitutes a valid and binding obligation of
Merchant enforceable against Merchant in accordance with its terms and conditions, and the
consent of no other entity or person is required for Merchant to fully perform all of its obligations
herein (other than as set forth in Section A), (c) all ticketing of Merchandise at the Pop Up Stores
has been and will be done in accordance with Merchant’s customary ticketing practices; and (d) to
the extent within the control of Merchant, the Pop Up Stores will be operated in the ordinary course
of business in all respects, other than those expressly agreed to by Merchant and Agent.

(ii) | Agent warrants, represents, covenants and agrees that (a) each entity comprising
Agent is a limited liability company duly organized, validly existing and in good standing under the

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laws of state of the Delaware, with full power and authority to execute and deliver this Agreement
and to perform the Agent’s obligations hereunder, and maintains its principal executive office at the
addresses set forth herein, (b) the execution, delivery and performance of this Agreement has been
duly authorized by all necessary actions of Agent and this Agreement constitutes a valid and
binding obligation of Agent enforceable against Agent in accordance with its terms and conditions,
and the consent of no other entity or person is required for Agent to fully perform all of its
obligations herein, (c) Agent shall comply with and act in accordance with any and all applicable
state and local laws, rules, and regulations, and other legal obligations of all governmental
authorities, (d) no non-emergency repairs or maintenance in the Pop Up Stores will be conducted
without Merchant’s prior written consent, (e) Agent will not take any disciplinary action against any
employee of Merchant, and (f) Agent shall not knowingly, and no Agent Indemnified Party shall,
knowingly take any action that would constitute a breach of the lease for any Pop Up Store.

I, Furniture, Fixtures and Equipment

If requested by Merchant at one or more Pop Up Stores, Agent shall sell the FF&E in each
such Pop Up Store from the Pop Up Store themselves. Agent shall dispose of any unsold FF&E at
the conclusion of the Sale in a manner to be approved by Merchant. Merchant shall be responsible
for all reasonable costs and expenses incurred by Agent in connection with the sale or other
disposition of FF&E, which costs and expenses shall be incurred pursuant to a budget or budgets to
be established from time to time by mutual agreement of the Parties.

In consideration for providing the services set forth in this Section I, Agent shall be entitled
to a commission from the sale of the FF&E equal to twenty percent (20%) of the Gross Proceeds of
the sale of the FF&E.

Agent shall remit to Merchant all Gross Proceeds from the sale of FF&E. During each
weekly reconciliation described in Section E above, Agent’s FF&E fee shall be calculated, and
Agent’s calculated and agreed upon FF&E fee and all FF&E costs and expenses then incurred
within an agreed upon budget shall paid within seven (7) days after each such weekly
reconciliation.

J. Termination
The following shall constitute “Termination Events” hereunder:

(a) Merchant’s or Agent’s failure to perform any of their respective material obligations
hereunder, which failure shall continue uncured thirty (30) days after receipt of
written notice thereof to the defaulting Party; or

(b) The failure of any representation or warranty made by Merchant or Agent to be true
in any material respect as of the date made or at any time and throughout the Sale
Term, which failure shall continue uncured thirty (30) days after receipt of written
notice thereof to the defaulting Party.

If a Termination Event occurs, the non-defaulting Party may, in its discretion, elect to
terminate this Agreement by providing seven (7) business days’ written notice thereof to the other
Party and, in addition to terminating this Agreement, pursue any and all rights and remedies and

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damages resulting from such default; provided, that in no event shall either Party be liable to the
other for any punitive, exemplary, consequential, incidental, indirect or special damages, including,
without limitation, lost profits. If this Agreement is terminated other than as a result of a default by
Agent, Merchant shall be obligated to pay Agent all amounts due under this Agreement through and
including the termination date.

K. Notices

All notices, certificates, approvals, and payments provided for herein shall be sent by fax or
by recognized overnight delivery service as follows: (a) To Merchant: Quiksilver, Inc., 5600
Argosy Circle, #100, Huntington Beach, CA 92649, Attn: Retail Department; with a copy to: Legal
Department; (b) To Agent: c/o Hilco Merchant Resources, LLC, One Northbrook Place, 5 Revere
Drive, Suite 206, Northbrook, IL 60062, Fax: 847- 897-0859, Attn: Ian S. Fredericks; or (c) such
other address as may be designated in writing by Merchant or Agent.

L. Independent Consultant

Agent’s relationship to Merchant is that of an independent contractor without the capacity to
bind Merchant in any respect. No employer/employee, principal/agent, joint venture or other such
relationship is created by this Agreement. Merchant shall have no control over the hours that Agent or
its employees or assistants or the Supervisors work or the means or manner in which the services that
will be provided are performed and Agent is not authorized to enter into any contracts or agreements
on behalf of Merchant or to otherwise create any obligations of Merchant to third parties, unless
authorized in writing to do so by Merchant.

M. Non-Assignment

Neither this Agreement nor any of the rights hereunder may be transferred or assigned by
either Party without the prior written consent of the other Party; provided that either Party may
assign this Agreement without the consent of the other Party in the event of a merger,
reorganization, consolidation or other change in control transaction, or in connection with the sale
of all or substantially all of such Party’s assets. No modification, amendment or waiver of any of
the provisions contained in this Agreement, or any future representation, promise or condition in
connection with the subject matter of this Agreement, shall be binding upon any Party to this
Agreement unless made in writing and signed by a duly authorized representative or agent of such
Party. This Agreement shall be binding upon and inure to the benefit of the Parties and their
respective heirs, legal representatives, successors and permitted assigns.

N. Severability

If any term or provision of this Agreement, as applied to either Party or any circumstance, for
any reason shall be declared by a court of competent jurisdiction to be invalid, illegal,
unenforceable, inoperative or otherwise ineffective, that provision shall be limited or eliminated to
the minimum extent necessary so that this Agreement shall otherwise remain in full force and effect
and enforceable. If the surviving portions of the Agreement fail to retain the essential
understanding of the Parties, the Agreement may be terminated by mutual consent of the Parties.

O. Governing Law, Venue, Jurisdiction and Jury Waiver
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This Agreement, and its validity, construction and effect, shall be governed by and enforced
in accordance with the internal laws of the State of California (without reference to the conflicts of
laws provisions therein). Any legal action, suit or proceeding arising in connection with this
Agreement shall be submitted to the exclusive jurisdiction of the Orange County, California courts
and each Party hereby waives any defenses or objections based on lack of jurisdiction, improper
venue, and/or forum non conveniens. Merchant and Agent waive their respective rights to trial by
jury of any cause of action, claim, counterclaim or cross-complaint in any action, proceeding and/or
hearing brought by either Agent against Merchant or Merchant against Agent on any matter
whatsoever arising out of, or in any way connected with, this Agreement, the relationship between
Merchant and Agent, any claim of injury or damage or the enforcement of any remedy under any
law, statute or regulation, emergency or otherwise, now or hereafter in effect. If either Party
commences any legal action, suit or proceeding to enforce or interpret this Agreement or any of the
terms or provisions hereof, then in addition to any damages or remedies that may be awarded to the
prevailing party therein, the prevailing party will be entitled to have and recover from the losing
party the prevailing party’s reasonable outside attorneys’ fees and costs incurred in connection
therewith.

P. Entire Agreement

This Agreement, together with all additional schedules and exhibits attached hereto,
constitutes a single, integrated written contract expressing the entire agreement of the Parties
concerning the subject matter hereof. No covenants, agreements, representations or warranties of
any kind whatsoever have been made by any Party except as specifically set forth in this
Agreement. All prior agreements, discussions and negotiations are entirely superseded by this
Agreement.

Q. Execution

This Agreement may be executed simultaneously in counterparts (including by means of
electronic mail, facsimile or portable document format (pdf) signature pages), any one of which
need not contain the signatures of more than one party, but all such counterparts taken together shall
constitute one and the same instrument. This Agreement, and any amendments hereto, to the extent
signed and delivered by means of electronic mail, a facsimile machine or electronic transmission in
portable document format (pdf), shall be treated in all manner and respects as an original thereof
and shall be considered to have the same binding legal effects as if it were the original signed
version thereof delivered in person.

* * *

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If this Agreement is acceptable to you, kindly execute a copy in the space provided, and
return a countersigned version to the undersigned. Thank you again for this opportunity -- we look
forward to working with you.

Very truly yours,

HILCO MERCHANT RESOURCES, LLC

By? ay Fredericks
Its: & Assistant General Counsel, Managing Member

GORDON BROTHERS RETAIL PARTNERS, LLC

LL LA ELE

By: furchard Eduard §
Its: Co- Pres: dent

AGREED AND ACCEPTED as of the [tay
of June, 2015:

QS RETALL, INC.

By: ratapp

Its! JENOR VICE PRESIDENT

QuikSilver

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Exhibit A: Merchandise

Note: Merchadise to be sald will be similar in mix and balace or otherwise subject to the agreement of the parties.

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Hats

Boxers
Wallets

Belts

Socks
Backpacks
Luggage
Watches
Sunglasses
Gift Packs
Miscellaneous
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Stickers
Sandals
Athletic / Casual
Tees

Knits

Wovens
Fleece
Sweaters
Jackets
Boardshorts
Walkshorts
Pants

S/S Tees

Tees

Tops

Jackets

Shorts

Hats
Miscellaneous
S/S Tees

L/S Tees
Name Drop Tees
Knits

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Sweaters
Jackets
Boardshorts
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Pants

S/S Tees

L/S Tees

Knits

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Case 15-11880-BLS Doc 253-2 Filed 10/07/15 Page 12 of 19

QuikSilver
Exhibit A: Merchandise
Note: Merchadise to be sold will be similar in mix and balace or otherwise subject to the agreement of the parties.

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11-111-05 Apparel Quiksilver QS Kids / Toddler Fleece 1,063 8,710 0.2%
11-111-07 Apparel Quiksilver QS Kids / Toddler Jackets 29 452 0.0%
11-111-08 Apparel Quiksilver QS Kids / Toddler Boardshorts 481 3,893 0.1%
11-111-09 Apparel Quiksilver QS Kids / Toddler Walkshorts 1,225 10,320 0.2%
11-111-10 Apparel Quiksilver QS Kids / Toddler Pants 81 779 0.0%
11-112-01 Apparel Quiksilver QS Infant Tees / Fleece 268 874 0.0%
11-112-02 Apparel Quiksilver QS Infant Tops 113 668 0.0%
11-112-03 Apparel Quiksilver QS Infant Bottoms 312 2,304 0.1%
11-113-01 Accessories Quiksilver QS Boys Accs Beanies 927 3,757 0.1%
11-113-02 Accessories Quiksilver QS Boys Accs Hats 201 844 0.0%
11-113-03 Accessories Quiksilver QS Boys Accs Boxers 37 115 0.0%
11-113-04 Accessories Quiksilver QS Boys Accs Wallets 8 27 0.0%
11-113-05 Accessories Quiksilver QS Boys Accs Belts 55 175 0.0%
11-113-06 Accessories Quiksilver QS Boys Accs Socks 17 38 0.0%
11-113-07 Accessories Quiksilver QS Boys Accs Backpacks 1 12 0.0%
11-113-08 Accessories Quiksilver QS Boys Accs Watches 7 44 0.0%
11-113-09 Accessories Quiksilver QS Boys Accs Sunglasses 2 10 0.0%
11-113-10 Accessories Quiksilver QS Boys Accs Miscellaneous 2 7 0.0%
11-114-01 Footwear Quiksilver QS Boys Footwear Sandals 15,095 48,219 1.1%
11-114-02 Footwear Quiksilver QS Boys Footwear Athletic / Casual 1 9 0.0%
12-120-01 Apparel Quiksilver QS Womens Apparel Tees 2 20 0.0%
12-120-02 Apparel Quiksilver QS Womens Apparel Fleece 2 24 0.0%
12-120-03 Apparel Quiksilver QS Womens Apparel Tops 9 30 0.0%
12-120-04 Apparel Quiksilver QS Womens Apparel Sweaters 3 66 0.0%
12-120-05 Apparel Quiksilver QS Womens Apparei Jackets 2 45 0.0%
12-120-06 Apparel Quiksilver QS Womens Apparel Dresses 27 370 0.0%
12-120-07 Apparel Quiksilver QS Womens Apparel Skirts 1 7 0.0%
12-120-08 Apparel Quiksilver QS Womens Apparel Shorts 2 32 0.0%
12-120-09 Apparel Quiksilver QS Womens Apparel Denim 7 138 0.0%
12-120-10 Apparel Quiksilver QS Womens Apparel Casual Pants (1) (9) 0.0%
12-120-11 Apparel Quiksilver QS Womens Apparel Swim 14 198 0.0%
12-122-02 Footwear Quiksilver QSW Footwear Sandals (11) (135) 0.0%
12-123-01 Apparel Quiksilver QS Girls Apparel Tees 91 484 0.0%
12-123-02 Apparel Quiksilver QS Girls Apparel Fleece 69 856 0.0%
12-123-03 Apparel Quiksilver QS Girls Apparel Tops 105 1,008 0.0%
12-123-04 Apparel Quiksilver QS Girls Apparel Tanks 46 284 0.0%
12-123-05 Apparel Quiksilver QS Girls Apparel Sweaters 18 374 0.0%
12-123-06 Apparel Quiksilver QS Girls Apparel Jackets 41 1,099 0.0%
12-123-07 Apparel Quiksilver QS Girls Apparet Dresses 141 1,633 0.0%
12-123-08 Apparel Quiksilver QS Girls Apparel Skirts 3 22 0.0%
12-123-09 Apparel Quiksilver QS Girls Apparel Shorts 44 389 0.0%
12-123-10 Apparel Quiksilver QS Girls Apparel Denim 674 7,880 0.2%
12-123-11 Apparel Quiksilver QS Girls Apparel Casual Pants 208 2,242 0.0%
12-123-12 Apparel Quiksilver QS Girls Apparel Swim 58 556 0.0%
12-124-01 Accessories Quiksilver QS Girls Accessories Handbags 10 85 0.0%
12-124-02 Accessories Quiksilver QS Girls Accessories Winterwear 3 20 0.0%
20-200-01 Apparel Roxy Roxy Appare! 5/S Tees 11,798 $6,722 1.2%
20-200-02 Apparel Roxy Roxy Apparel L/S Tees 2,678 16,096 0.4%
20-200-03 Apparel Roxy Roxy Apparel Name Drop Tees 6,980 28,591 0.6%
20-200-04 Apparel Roxy Roxy Apparel Fleece 19,513 210,677 4.6%
20-200-05 Apparel Roxy Roxy Apparel Name Drop Fleece 250 1,935 0.0%
20-200-06 Apparel Raxy Roxy Apparel Tops 5,002 42,099 0.9%
20-200-07 Apparel Roxy Roxy Apparel Tanks 1,923 11,205 0.2%
20-200-08 Apparel Roxy Roxy Apparel Sweaters 9,823 114,383 2.5%
20-200-09 Apparel Roxy Roxy Apparel Jackets 4,732 83,129 1.8%
20-200-10 Apparel Roxy Roxy Apparel Dresses 6,004 59,238 1.3%
20-200-11 Apparel Roxy Roxy Apparel Skirts 68 543 0.0%
20-200-12 Apparel Roxy Roxy Apparel Shorts 616 5,590 0.1%
20-200-13 Apparel Roxy Roxy Apparel Boardshorts 2,029 17,539 0.4%
20-200-14 Apparel Roxy Roxy Apparel Denim 4,523 53,601 1.2%
20-200-15 Apparel Roxy Roxy Apparel Casual Pants 1,666 18,839 0.4%
20-201-01 Apparel Roxy Jrs Swim Roxy 29,370 174,524 3.8%

20-201-04 Apparel Roxy Jrs Swim Coverups 67 520 0.0%
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QuikSilver
Exhibit A: Merchandise
Note: Merchadise to be sold will be similar in mix and balace or otherwise subject to the agreement of the parties.

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20-201-05 Apparel Roxy Jrs Swim z_unidentified 11 117 0.0%
20-202-01 Accessories Roxy Roxy Accs Hats 299 1,579 0.0%
20-202-02 Accessories Roxy Roxy Accs Handbags 3,500 31,180 0.7%
20-202-03 Accessories Roxy Roxy Accs Jewelry 22 115 0.0%
20-202-04 Accessories Roxy Roxy Accs Wallets 2,822 16,378 0.4%
20-202-05 Accessories Roxy Roxy Accs Belts 815 3,948 0.1%
20-202-06 Accessories Roxy Roxy Accs Backpacks 929 12,749 0.3%
20-202-07 Accessories Roxy Roxy Accs Luggage 1,143 11,393 0.2%
20-202-08 Accessories Roxy Roxy Accs Watches 261 3,062 0.1%
20-202-09 Accessories Roxy Roxy Accs Sunglasses 123 1,741 0.0%
20-202-10 Accessories Roxy Roxy Accs Loungewear 37 367 0.0%
20-202-11 Accessories Roxy Roxy Accs Winterwear 973 6,072 0.1%
20-202-12 Accessories Roxy Roxy Accs Gifts 172 1,788 0.0%
20-202-13 Accessories Roxy Roxy Accs Fragrance 446 5,972 0.1%
20-202-14 Accessories Roxy Roxy Accs Miscellaneous 1,156 5,442 0.1%
20-202-15 Accessories Roxy Roxy Accs Home 1 11 0.0%
20-202-17 Accessories Roxy Roxy Accs Electronics 8,284 421,259 9.2%
20-202-18 Accessories Roxy Roxy Accs Stickers 91 269 0.0%
20-202-19 Accessories Roxy Roxy Accs z_unidentified 232 347 0.0%
20-203-01 Footwear Roxy Roxy Footwear Rubber Flip Flops 15,229 52,679 1.2%
20-203-02 Footwear Roxy Roxy Footwear Sandals 1,799 12,121 0.3%
20-203-03 Footwear Roxy Roxy Footwear Athletic / Casual 5,011 48,094 1.1%
20-203-04 Footwear Roxy Roxy Footwear Slippers (5) (57) 0.0%
20-204-01 Apparel Roxy Roxy Outdoor Fitness Sports Bras 25 249 0.0%
20-204-02 Apparel Roxy Roxy Outdoor Fitness Tanks 11 176 0.0%
20-204-03 Apparel Roxy Roxy Outdoor Fitness Tops 44 444 0.0%
20-204-04 Apparel Roxy Roxy Outdoor Fitness Slippers 31 735 0.0%
20-204-05 Apparel Roxy Roxy Outdoor Fitness — Shorts 128 1,185 0.0%
20-204-06 Apparel Roxy Roxy Outdoor Fitness = Pants 795 11,104 0.2%
20-204-07 Apparel Roxy Roxy Outdoor Fitness Accessories 4 59 0.0%
20-204-08 Apparel Roxy Roxy Outdoor Fitness Swim 538 3,744 0.1%
20-204-09 Apparel Roxy Roxy Outdoor Fitness Wetsuits 2 138 0.0%
21-210-01 Apparel Roxy RG Apparel S/S Tees 1,154 4,475 0.1%
21-210-02 Apparel Roxy RG Apparel L/S Tees 64 336 0.0%
21-210-03 Apparel Roxy RG Apparel Fleece 2,397 20,987 0.5%
21-210-04 Apparel Roxy RG Apparel Tops 1,744 11,588 0.3%
21-210-05 Apparel Roxy RG Apparel Sweaters (17) (232) 0.0%
21-210-06 Apparel Roxy RG Apparel Jackets 19 223 0.0%
21-210-07 Apparel Roxy RG Apparel Dresses 54 446 0.0%
21-210-08 Apparel Roxy RG Apparel Skirts 2 14 0.0%
21-210-09 Apparel Roxy RG Apparel Shorts 37 260 0.0%
21-210-10 Apparel Roxy RG Apparel Pants 3,815 29,753 0.7%
21-210-11 Apparel Roxy RG Apparel Swim 476 4,049 0.1%
21-210-12 Apparel Roxy RG Apparel Name Drop Tees 51 192 0.0%
21-211-01 Apparel Roxy RG Teenie Wahine Tees 69 257 0.0%
21-211-02 Apparel Roxy RG Teenie Wahine Fleece 72 660 0.0%
21-211-03 Apparel Roxy RG Teenie Wahine Tops 47 361 0.0%
21-211-04 Apparel Roxy RG Teenie Wahine Bottoms 155 1,116 0.0%
21-211-05 Apparel Roxy RG Teenie Wahine Dresses 25 175 0.0%
21-211-06 Apparel Roxy RG Teenie Wahine Swim 96 720 0.0%
21-212-01 Apparel Roxy RG Infant Tees / Fleece 8 52 0.0%
21-212-02 Apparel Roxy RG tnfant Tops 12 76 0.0%
21-212-03 Apparel Roxy RG Infant Bottoms 5 32 0.0%
21-212-04 Apparel Roxy RG Infant Dresses 5 31 0.0%
21-213-01 Accessories Roxy RG Accs Hats 10 49 0.0%
21-213-02 Accessories Roxy RG Accs Handbags 59 348 0.0%
21-213-03 Accessories Roxy RG Accs Belts 1 5 0.0%
21-213-04 Accessories Roxy RG Accs Backpacks 23 266 0.0%
21-213-05 Accessories Roxy RG Accs Luggage S 43 0.0%
21-213-06 Accessories Roxy RG Accs Watches 1 7 0.0%
21-213-07 Accessories Roxy RG Accs Sunglasses 44 260 0.0%
21-213-08 Accessories Roxy RG Accs Winterwear 36 239 0.0%

21-213-10 Accessories Roxy RG Accs Miscellaneous 72 413 0.0%
QuikSilver

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Exhibit A: Merchandise

Note: Merchadise to be sold will be similar in mix and balace or otherwise subject to the agreement of the parties.

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Roxy Wetsuits
QS Boys Wetsuits
QS Mens Lycra
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QS Boys Lycra
Roxy Girls Lycra
Roxy Girls Wetsuits

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Books / Magazines
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Miscellaneous
Jewelry
Electronics
Makeup
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S/S Tees

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Knits

Wovens
Fleece
Sweaters
Jackets

Shorts

Denim

Long Bottoms
Boardshorts
Beanies

Hats
Backpacks
Wallets

Belts

Socks
Miscellaneous
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Skate

Sandals

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Tops
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Shorts
Boardshorts
Denim

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QuikSilver
Exhibit A: Merchandise
Nate: Merchadise to be sold will be similar in mix and balace or otherwise subject to the agreement of the parties.

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Accessories DC Shoes OC Boys Accs Beanies 3 13 0.0%
71-711-02 Accessories DC Shoes DC Boys Accs Hats 29 169 0.0%
71-711-03 Accessories DC Shoes DC Boys Accs Belts 2 6 0.0%
71-711-04 Accessories DC Shoes DC Boys Accs Miscellaneous 37 181 0.0%
71-711-05 Accessories DC Shoes DC Boys Accs Backpacks 362 934 0.0%
71-712-01 Footwear DC Shoes DC Boys Footwear Skate 340 4,238 0.1%
71-712-02 Footwear DC Shoes DC Boys Footwear Sandals 57 403 0.0%
71-713-01 Apparel DC Shoes DC Kids/Toddler App Tees 41 130 0.0%
71-713-02 Apparel DC Shoes DC Kids/Toddler App Fleece 77 939 0.0%
71-713-03 Apparel DC Shoes OC Kids/Toddler App Tops 14 123 0.0%
71-713-04 Apparel DC Shoes DC Kids/Toddler App Bottoms 18 172 0.0%
71-714-01 Footwear DC Shoes DC K/T Footwear Skate 5,531 57,947 1.3%
80-800-01 Apparel DC Shoes OC Jrs App S/S Tees 91 492 0.0%
80-800-02 Apparel DC Shoes DC Jrs App L/S Tees 5 34 0.0%
80-800-03 Apparel DC Shoes DC Jrs App Tops 41 359 0.0%
80-800-04 Apparel OC Shoes DC Jrs App Fleece 39 448 0.0%
80-800-05 Apparel DC Shoes DC Jrs App Sweaters 7 98 0.0%
80-800-06 Apparel DC Shoes DC Jrs App Jackets 7 143 0.0%
80-800-07 Apparel DC Shoes DC Jrs App Shorts 44 425 0.0%
80-800-09 Apparel DC Shoes DC Jrs App Denim 40 629 0.0%
80-800-10 Apparel DC Shoes OC Jrs App Bottoms 3 32 0.0%
80-800-11 Apparel DC Shoes DC Jrs App Dresses 16 150 0.0%
80-801-01 Accessories DC Shoes DC Jrs Accs Beanies 379 1,581 0.0%
80-801-02 Accessories DC Shoes DC Jrs Accs Hats 3 27 0.0%
80-801-03 Accessories OC Shoes DC Irs Accs Handbags 2 22 0.0%
80-801-04 Accessories OC Shoes DC Jrs Accs Wallets 9 51 0.0%
80-801-05 Accessories DC Shoes DC Jrs Accs Backpacks 232 824 0.0%
80-801-07 Accessories OC Shoes DC Jrs Accs Socks 3 8 0.0%
80-801-08 Accessories DC Shoes DC Jrs Accs Miscellaneous 2 13 0.0%
80-802-01 Footwear DC Shoes DC Jrs Footwear Skate 201 2,745 0.1%
80-802-02 Footwear DC Shoes DC Jrs Footwear Sandals 57 294 0.0%
81-812-01 Footwear DC Shoes DC Girls Footwear Skate 2 22 0.0%
90-900-01 Technical Products DC Shoes DC Snow Mens Snow 128 5,469 0.1%
90-900-02 Technical Products DC Shoes OC Snow Juniors Snow 31 1,242 0.0%
90-900-03 Technical Products DC Shoes OC Snow Boys Snow (15) (470) 0.0%
90-900-04 Technical Products DC Shoes DC Snow Girls Snow (2) (59) 0.0%
90-900-05 Technical Products DC Shoes DC Snow Snow Accessories 841 4,781 0.1%
90-900-06 Technical Products DC Shoes OC Snow Snow Boots 40 2,852 0.1%
Grand Total $71,540 4,569,625 100.0%

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Hilco Merchant Resources
Quiksilver, Inc.
Exhibit B

Supervision Expense Budget- Pre-Opening

Field Field
Lead Supervisors Supervisors Project DC

Supervision with Payroll Costs Include Supervisor Regional (full-term) (part-term) Controller PC Staff Supervisor Total USD
Base Rate 17,955 - 82,080 131,328 - - - 231,363
Deferred Compensation 8,978 - 41,040 65,664 - - - 115,682
Rate Adjustments (1) 2,850 - 11,970 - - - - 14,820
Total Rates 29,783 - 135,090 196,992 - - - 361,865
Travel Charges 4,275 - 24,150 46,800 - - - 75,225
Other Expenses 750 - 4,500 7,200 - - - 12,450
General Liability Insurance

Total Expense 34,808 - 163,740 250,992 - - - 449,540

Note: Supervision Expense will be managed in the aggregate.

Supervision Supporting Detail

Field Field
Lead Supervisors Supervisors Project DC
Supervisor Regional (full-term) (part-term) Controller PC Staff Supervisor

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Hilco Merchant Resources
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Exhibit 8
Supervision Expense Budget-Sale |

Field Field
Lead Supervisors Supervisors Project DC
Supervision with Payroll Costs Include Supervisor Regional (full-term) (part-term) Controller PCStaff Supervisor Total USD

Base Rate 88,749 61,047 405,710 - - - - 555,506
Deferred Compensation 44,375 30,524 202,855 - - - - 277,753
Rate Adjustments (1) 14,087 - 59,166 - - - - 73,253
Total Rates 147,211 91,571 667,731 - - - - 906,512
Travel Charges 16,399 26,250 105,810 - - - - 148,459
Other Expenses 3,707 - - - - - - 3,707
General! Liability Insurance 12,368
Total Expense 167,317 117,821 773,541 - - - - 1,071,046

Note: Supervision Expense will be managed in the aggregate.

| Supervision Supporting Detail

Lead Field Field
Lead Supervisor- Supervisors Supervisors Project DC
Supervisor tI (full-term) (part-term) Controller PCStaff Supervisor

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Hilco Merchant Resources
Quiksilver, Inc.

Exhibit B
| Supervision Expense Budget-Wind-Down
Field Field
Lead Supervisors Supervisors Project Dc

Supervision with Payroll Costs Include Supervisor Regional (full-term) (part-term) Controller PC Staff Supervisor Total USD
Base Rate 25,137 - 82,080 - 28,728 - - 135,945
Deferred Compensation 12,569 - 41,040 - 14,364 - - 67,973
Rate Adjustments (1) 3,990 - 11,970 - - - - 15,960
Total Rates 41,696 - 135,090 - 43,092 - - 219,878
Travel Charges 5,505 - 22,950 - 4,440 - - 32,895
Other Expenses 1,050 - 4,500 - 1,200 - - 6,750
General Liability Insurance 4,013
Total Expense 48,251 - 162,540 - 48,732 - - 263,536

Note: Supervision Expense will be managed in the aggregate.

Supervision Supporting Detail

Field Field
Lead Supervisors Supervisors Project DC
Supervisor Regional (full-term) (part-term) Controller PCStaff Supervisor

